  1    Jay M. Goffman
       SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
  2    Four Times Square
       New York, New York 10036
  3    Telephone: 212-735-3000
       Facsimile: 212-735-2000
  4
       - and -
  5
       Nick P. Saggese (Cal Bar No. 94319)
  6    SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
       300 South Grand Avenue, Suite 3400
  7    Los Angeles, California 90071
       Telephone: 213-687-5000
  8
       Facsimile: 213-687-5600
  9
       Counsel for Warren C. Woo
 10
                                   UNITED STATES BANKRUPTCY COURT
 11
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 12
                                            SAN FRANCISCO DIVISION
 13
       In re:                                                          Case No. 08-31001 TEC
 14
       BDB MANAGEMENT, LLC,                                            Chapter 11
 15
                              Debtor                                   Notice of Appearance and Request for
 16                                                                    Notice and Service of Papers

 17
 18             PLEASE TAKE NOTICE that Skadden, Arps, Slate, Meagher & Flom LLP hereby appears
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 19 in the above-cpt
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 20 Co
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       )fo
         rWarren C. Woo, a party-in-interest, pursuant to section 1109(b) of the Bankruptcy Code
                                                               e(
 21 and Rule 9010(b) of the Federal Rules of Bankruptcy Procedur t
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 22 hereby requests, pursuant to Bankruptcy Rules 2002, 3017 and 9007, and sections 342 and 1109(b)
 23 of the Bankruptcy Code, that copies of all notices, pleadings, disclosure statements, and plans filed
 24 or otherwise provided in this chapter 11 case be served upon the persons listed below at the
 25 following addresses:
 26                                     Jay M. Goffman
                                        Skadden, Arps, Slate, Meagher & Flom LLP
 27                                     Four Times Square
 28                                     New York, New York 10036
                                        Facsimile: 212-735-2000
                                                          2
                        Notice of Appearance and Request for Notice and Service of Papers by Warren C. Woo



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  1                                   jay.goffman@skadden.com
  2                                   and
  3
                                      Nick P. Saggese
  4                                   Skadden, Arps, Slate, Meagher & Flom, LLP
                                      300 South Grand Avenue, Suite 3400
  5                                   Los Angeles, CA 90071
                                      Facsimile: 213-687-5600
  6                                   nick.saggese@skadden.com
  7          PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the Bankruptcy
  8 Code, the foregoing demand includes not only the notice and papers referred to in the Bankruptcy
  9 Rules specified above, but also includes, without limitation, any order, notice, application,
 10 complaint, demand, motion, petition, pleading, or request, whether formal or informal, written or
 11 oral, and whether transmitted or conveyed by mail, delivery, telephone, telegraph, telex, or
 12 otherwise filed or made with regard to the referenced case and proceedings herein.
 13          Neither this request for notice and service nor any later appearance, pleading, claim or suit
 14 (1) is a consent to jurisdiction or waives any objection that may be made to the jurisdiction of the
 15 Court, (2) is a consent to have an attorney accept service of process or of a pleading or other paper
 16 initiating a contested matter, (3) waives any right to have final orders in non-core matters entered
 17 only after de novo review by a district judge, (4) waives any right to trial by jury in any proceeding
 18 so triable in this case or any case, controversy or proceeding related to this case, (5) waives any
 19 right to have the district court withdraw the reference in any matter subject to mandatory or
 20 discretionary withdrawal, or (6) waives any other substantive or procedural right.
 21
 22
                                  [Remainder of Page Intentionally Left Blank]
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                      Notice of Appearance and Request for Notice and Service of Papers by Warren C. Woo



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  1            This request for notice and service is without prejudice to Mr
                                                                            .Wo
                                                                              o’srights, remedies,
  2 claims, actions, defenses, setoffs or recoupments in law or in equity against a debtor or any other
  3 entities either in this case or in any other action, all of which rights, remedies, claims, actions,
  4 defenses, setoffs and recoupments are expressly reserved.
  5 Dated: June 17, 2008
                                                     SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
  6
                                                     Jay M. Goffman
  7                                                  Four Times Square
                                                     New York, New York 10036
  8
                                                     Telephone: 212-735-3000
  9                                                  Facsimile: 212-735-2000

 10                                                  - and -

 11                                                  SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

 12                                                  By:   _s/ Nick P. Saggese _________________________
                                                           Nick P. Saggese (Cal Bar No. 94319)
 13                                                  300 South Grand Avenue, Suite 3400
                                                     Los Angeles, California 90071
 14                                                  Telephone: 213-687-5000
                                                     Facsimile: 213-687-5600
 15
                                                     Counsel for Warren C. Woo
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                            Notice of Appearance and Request for Notice and Service of Papers by Warren C. Woo
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